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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


             v.                                       ORDER
                                                     09-CR-349
ORVILLE RODRIGUEZ,

                                 Defendant.




             This case was referred to Magistrate Judge H. Kenneth Schroeder, Jr.,

pursuant to 28 U.S.C. § 636(b)(1)(A). Defendant Orville Rodriguez filed a motion to

suppress statements. On July 30, 2010, Magistrate Judge Schroeder filed a Report

and Recommendation, recommending that defendant Orville Rodriguez's motion to

suppress be granted in part and denied in part.

      The Court has carefully reviewed the Report and Recommendation, the record

in this case, and the pleadings and materials submitted by the parties, and no

objections having been timely filed, it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons set

forth in Magistrate Judge Schroeder's Report and Recommendation, defendant's

motion seeking suppression of statements and other relief is granted in part and

denied in part.

      All parties in this case shall appear in Court on W ednesday, August 25, 2010

at 9:00 a.m. for a meeting to set a trial date.
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     SO ORDERED.

                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  UNITED STATES DISTRICT JUDGE

DATED: August 24, 2010




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